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UNITED STATES OF AMERICA ’ ~§'=~D-PTW___

v. NO. 4:18-MJ- '7 (,3

KEITH BERKEBILE

 

 

CRIl\/IINAL COl\/IPLAINT

 

I, the undersigned Complainant, being duly sworn, state the following is true and
correct to the best of my knowledge and belief:

F rom on or about July 8 2017 through on or about July 25, 2018, in the Northern
District of Texas, the defendant, Keith Berkebile, did use any means and facility of
interstate and foreign commerce to knowingly attempt to persuade, induce and entice an

individual who had not attained the age of 18 years, to engage in sexual activity for
which any person can be charged with a criminal offense.

In violation of l8 U.S.C. § 2422(b).
INTRODUCTION
I, Brandon Poor, being duly sworn, depose and state as follows:

l. I am a Grand Prairie Police Officer and have been so employed since July
of 2006. I am also a Task Force Officer with the Federal Bureau of Investigations (FBI),
currently assigned to Child Exploitation Task Force.

2. As part of my official duties, l have conducted and participated in
investigations relating to the sexual exploitation of children. As an FBI Task Force
Officer, l am authorized to investigate crimes involving the sexual exploitation of
children pursuant to Title 18, United States Code, Section 2422. Title 18 U.S.C. §

2422(b) which makes it a federal offense to use the mail or any facility or means of

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interstate commerce, including by a computer or cellular phone, or within the special
maritime and territorial jurisdiction of the United States, to knowingly persuade, induce,
entice, or coerce any individual who has not attained the age of 18 years, to engage in
prostitution or any sexual activity for which any person can be charged with a criminal
offense, or attempts to do so.

3. As part of my duties with the Grand Prairie Police Department and as a
federal Task Force Officer, 1 have gained experience in the conduct of criminal
investigations involving child exploitation and child enticement.

4. The facts in support of probable cause for this complaint are based on: (1)
my personal investigation; (2) communication from other law enforcement officers; and
(3) physical evidence.

5. As more fully described below, 1 have probable cause to believe that Keith
Berkebile, knowingly used a means and facility of interstate commerce, that is, the
lnternet, to attempt to persuade, induce, and entice an individual whom he believed to be
under the age of 18 years, to engage in sexual activity for which any person can be
charged with a criminal offense.

OVERVIEW OF INVESTIGATION

6. On July 8, 2017, l began a proactive investigation on the Internet Relay
Chat Program. Based on my prior investigative experience, 1 know this particular
program has been and is used to communicate about the sexual exploitation of children. l

previously established an undercover profile (UC) of a 31-year-old mother of two

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daughters, ages five and eleven, using photographs of a Grand Prairie Police employee
who authorized the use of her photographs for investigation purposes.

7. Using the screen name “momwdaughstx” 1 went on the 1nternet Relay Chat
Program and entered the rooms labeled “dad&daughtersex,” and “pedomoms.” 1 was
messaged by a subject with screen name “Dallas-Male,” who introduced himself as a 59-
year-old from Texas. “Dallas-Male,” later identified as Keith Berkebile (hereinafter
referenced as Berkebile), sent a photo of himself with his son and grandson and provided
his email address. On July 12, 2017, 1 sent an administrative subpoena to AT&T to
identify the subscriber using the IP address associated with “Dallas-l\/lale.” AT&T
provided subscriber data that returned to Keith Berkebile and listed his Arlington
residence.

8. During their chats, which occurred on Internet Relay Chat and via email,
Berkebile asked the UC about the ages of her daughters When the UC told him they
were five and eleven, he asked, “would u like to see your oldest with a man.” Berkebile
went on to ask the UC if she “would enjoy watching [her] girls stroking and sucking a
mans cock.” During the ongoing communications over several weeks, Berkebile
Suggested that the UC show her l 1-year-old daughter pornographic videos and, after, to
ask if she would like to experience some of what she saw.

9. Berkebile told the UC he would “play with her [daughter’s] pussy and lick
it and let her do the same.” He also instructed the UC to ask her daughter if she would
like to meet the UC’s friend after they had watched a pornographic video. Berkebile told

the UC to make sure the child never says a word to anyone, “or we both go to jail.”

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10. On July 17, 2017, while communicating with the UC, Berkebile sent her an
image of child pornography via email. The image depicted two nude minors; Berkebile
stated that he thought the girl in the image was 11 and the male, who had an erect penis,
was 15-years-old. Later that same day, Berkebile sent another image of child
pornography that depicted a prepubescent female performing oral sex on a male.
Berkebile said he thought the female child was “about 12,” and then said, “she looks like
sheknows[sic] how to suck cock lol.”

11. After Berkebile said he wanted to meet, Berkebile and the UC set up a
date that he would come to the UC’s apartment to swim and be alone with the 11-year-
old. The meeting was scheduled for the afternoon of Tuesday, July 25, 2017. Berkebile
emailed the UC, stating that he would bring protection. On July 24, 2017 , however,
Berkebile told the UC he would rather meet her at a bar and talk first. The UC declined,
and the meeting was canceled.

12. On July 25, 2017, Berkebile emailed the UC, telling her to have a good day
at work. The UC responded, and mentioned she was working only half the day, because
she had already scheduled the afternoon off of work. Berkebile invited the UC over to
his place to go swimming; the UC declined and said she was taking her daughters to the
pool. Berkebile then offered to come over and visit them at the pool; the UC agreed and
provided directions to the UC apartment in Grand Prairie. When Berkebile arrived, he
was arrested pursuant to a state warrant. During an interview, Berkebile was provided
the Mz`rana’a warnings and agreed to speak. Berkebile said he was chatting with a

female who wanted her daughter to have sex and he agreed, but then changed his mind. A

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map was located that showed the directions from Berkebile’s Arlington residence to the
UC apartment designated for the meeting.

13. Grand Prairie police detectives subsequently executed a state search
warrant for Berkebile’s residence in Arlington, where a laptop was found with child
pornography on the screen.

14. 1 am aware that in order to communicate via email or via MIRC, the user
must have access to the Internet, which is a means and facility of interstate and foreign
commerce. l\/Ioreover, the sexual activity Berkebile described to the UC would be a
violation of Texas Penal Code § 22.021. The distribution of the child pornography sent
by Berkebile would also be a violation of Texas Penal Code § 43.26.

CONCLUSION

15. Based on the facts and circumstances of this Affidavit, Affiant submits that
probable cause exists to believe that based on the foregoing, Keith Berkebile, violated
Title 18 U.S.C § 2422(b), that is Attempted Coercion or Enticement.

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Brandon Poor, Task Force Officer
Federal Bureau of Investigations

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Subscribed and sworn to before me on this i?’ day of December, 2018 at 10 3§°
___q).,m., in Fort Worth, Texas.

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JEFFRE . CURETON
UNIT TATES MAGISTRATE JUDGE

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